Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 1 of 82 P ge|D 9710

Fu.Eo /:v).c.

IN THE UNITED sTATES DISTRICT c:c)m=':l.‘[]5 AUG 2£' PH [*’ 55
FOR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA,
Plaintiff,

v. No. 92-2062-D/A

STATE OF TENNESSEE, et al.,
Defendants.

PEOPLE FIRST OF TENNESSEE,

PARENT-GUARDIAN ASSOCIATION OF
ARLINGTON DEVELOPMENTAL CENTER,

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Intervenors.

 

ORDER

 

On July, 20, 2005, the Monitor, Dr. Nancy K. Ray, submitted an
invoice for fees and expenses incurred in June 2005 According to
this invoice, the Monitor incurred fees and expenses of $108,113.92
in June 2005. This invoice is attached hereto as Appendix 1.

Whereas the Court has not received any comments or objections
from Defendants, Defendant State of Tennessee is hereby ORDERED to
pay the amount set out in this invoice into the registry of the
Court. All funds received by the Clerk of Court are directed to be
deposited into an interest-bearing account and shall be used to
reimburse the Monitor for her expenses and fees up to and including
the total sum of the money deposited by Defendant State of

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Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 2 of 82 Page|D 9711

Tennessee. Any money not spent by the Monitor shall be credited to

Defendants.

IT IS SO ORDERED THIS,ZZ DAY OF AUGUST, 2005.

      
   

ERNICE B. DONA D
UNITED STATES DISTRICT

 

 

Case 2:92-cv-02062-.]PI\/|-tmp DocuNeNtQMRA\EiBIndID8/24/05 Page 3 of 82 Page|D 9712
Mom`tor for the Remedz'al Order
NKR & Associates, Inc.
518 Delaware Avenue
Delmar, NY 12054
Phone (518) 478-0982 Fax (518) 478-0986

]uly 20, 2005

Honorable Bernice Donald

U.S. District Court

Federa] Building

167 North Main Street, Suite 951, 9th Floor
Memphis, TN 38103

Dear judge Donald;

Enclosed please find the Monitor's invoice for ]une 2005. The Remedial Order
requires that the Monitor submit original invoices to the Court, with a copy to
Defendants and provide Defendants fifteen days after receipt to submit any comment to
the Court.

1 have simultaneously sent this invoice (FedEx 2 day) to Dianne Dycus of the
Attorney General's Office.

If you have any questions regarding this invoice, l Will be happy to respond.

sp ctfully,

Nancy K. Ray, Ed.D.

Monitor for the Remedial Order
United States U. State of Tennessee et. al.
(Arlington Developmental Center)

Enclosure

cc: D. Dycus

 

 

 

 

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Monitorfor the Remed:`al Order

NKR & Associates, Inc.
318 Delaware Avenue
Delmar, NY 12054
Phone (518) 478-0982 Fax (518) 478-0986

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff`,

V.

STATE OF TENNESSEE, ET AL., NO. 92-2062 Ml / A
Defendants.

INVOICE FOR JUNE 2005

Dr. Nancy K. Ray hereby represents to the Court that the following monies are payable to
her for her duties as the Monitor during the month of June 2005.

Payable to
NKR & Associates, Inc.

AMOUNT OF REIMBURSEMENT REQUESTED 3108,113.92

SUBMITTED BY:

%»“e%/€“/{

Nancy K. Ray, Ed.D. Date: July 20, 2005
President

 

 

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Monitorfor the Remedial Order

NKR & Associates, Inc.
518 Delaware Avenue
Delmar, NY 12054
Phone (518) 478-0982 Fax (518) 478-0986

]uly, 15, 2005
INVOICE FOR THE MONTI-I OF ]UNE 2005

PROFESSIONAL STAFP HOURS

Ray, N. 180 hours @ $125 22,500.00
Bulgaro, P. 6.5 hours @ $150 975.00
Coleman, V. 176 hours @ $70 12,320.00
Truesdale, L. 168 hours @ $50 8,400.00
SUPPORT STAFF I-IOURS

Dowd, C. 131 hours @ $50 6,550.00
Farstad, E. 175 hours @ $40 7,000.00
Morris, K. 169 hours @ $50 8,450.00
Williams, S. 44.25 hours @ $40 - 1,770.00
STAFF TRAVEL

Ray (6/14-17/05) 1,316.43
Coleman (]une 2005) 725.05
Farstad (6/8-10/ 05) 557.02
Morris (6/ 8-10/ 05) 557.02
Truesdale (6/20-23/05) 1,058.27
Wi]liams (6/ 20-23/ 05) 859.'74
CONSULTANT HOURS

I-Iargrove (6/ 3-'7/ 05) 8,575.00
Langkau (6/11-20/05) 2,500.00
Langkau (6/ 26/ 05) 1,250.00
Maxon (6/14-18/05) 4,125.00
Ouimet (4/24/ 05 - 6/13/05) 9,100.00
Ouimet (6 / 2 / 05 - 6 / 20 / 05) 5,250.00
CONSULTANT TRAVEL

Hargrove (6/3-7/05) 1,206.79
Maxon (6/14-17/05) 1,044.58
Ouimet (6/8-10/05) 763.24
PHONE

Verizon Wireless and AT&T 236.07
POSTAGE

Ped Ex and US Postal Service 676.11
PRINTING

Camelot Legal Copy and Inhouse Pri_nting 348.60

Total $108,113.92

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Nancy K. Ray
Court Monitor for the Remedial Order
Court Log
]une 2005

Conference call (extended) with C. Miller, M. Gervais regarding nurse case manager
services; final review and transmittal letter for MOSAIC 2005 Community Status Review,'
Final declaration regarding Sondra H.; Phone call to L. Barbee, ISC for class member MF
regarding his access to nursing services and family complaint; Review of selected abuse
and neglect investigations; WTFS 2005 Community Status Review; TN mail and e-mail

Meeting with staff persons regarding tabulations of family satisfaction survey for
community homes; Review of community abuse and neglect investigations involving
class members; Review of pending Agreement of the Parties and proposals for revision;
TN mail and e~mail

Final proofing of WTFS 2005 Community Status Review and draft transmittal letter

Review and revision of BIOS 2005 Community Status Review (start)

Phone call from V. Coleman regarding concerns at Easter Seals noted during this past
weekend; Phone call from P. Hargrove regarding medication error at Easter Seals
involving LF; Phone call to Mrs. Young, SA’s guardian regarding her complaints
regarding Easter Seals; Phone ca11 from ]. Lakey regarding a possible request of ]C's
placement in a nursing home; Correspondence with D. Payne regarding faulty State
investigations; Correspondence with the Pari:ies related to ]C's nursing home placement
Conference call With the Parties related to pending Agreement; TN mail and e-mail

Phone call with Debbie Payne regarding protection from harm issues and
underreporting of incidents; Phone call from Karen Woulfe (Easter Seals) regarding
problems identified during the agency's 2005 CSR; Phone call with G. Pruitt regarding
late investigation reports and 1DMc (MOSAIC) case; Phone call with Gaye Hansen,
Community Services Networl<, regarding various class member' health status (RK, DK,
]C, TS, MF, ]S); Work on BIOS 2005 Community Status Report; Sta.ff meeting to discuss
]une and ]uly 2005 schedule and early planning for annual ADC Review; Phone call
with MS's mother regarding services at ADC; TN mail and e-mail

Continued work on BIOS 2005 Community Status Review Report; Review of medical
evaluations of class members who are medically fragile and slated for community
transitions,l Meeting with P. Bulgaro to discuss status of rate issues and appropriate next
steps in addressing issues at ADC and service access issues in the community; Phone call
with G] regarding his dissatisfaction with his residential provider TN mail and e-mail

BIOS 2005 Community Status Review Report; Work on template for compliance chart for
new agreement among the Parties; Phone call extended with C. McMorran regarding
BIOS and class members ]C and MA; Phone call from Mr. I-Ia]l regarding his son ]H and
the satisfaction survey, as well as his concerns about medical guardianship; TN mail and
e-mail

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Conference call with MOSAIC Corporate Team (extended),' Phone call from Mrs,
Donnee regarding services for her daughter (non-class) and poor assistance from the
State; Follow-up phone call to Mr. l-Iughes parent of }H regarding his success in
arranging community services for ]H,' Phone call from Mr. Soulousons, guardian for ]G,
regarding his pending transition to a community home; Correspondence work of
"Other" Orders compliance chart for Parties‘ agreement Phone call from G. ]ones
regarding his concerns; TN mail and e-mail
Draft transmittal letter for BIOS 2005 Community Status Report; Review of records for
Guardian 2005 Community Status Review
Review of records for VOA 2005 Community Status Review

Phone call extended from V. Thayer regarding assault on his son at ADC; Phone call
with N. Staples (Assistant Superintendent of ADC) and Steve Norris regarding the same
incident and its investigation; Request from documents regarding Davy Crockett
incidents at ADC,' Staff meeting to review status of community reviews and to schedule
ADC reviews; Conference call with BIOS officials regarding draft of the agency's
Community Status Review; TN mail and e-mail

(Travel to Memphis), 2005 Guardian Community Status Review (SH), phone call from V.
Thayer guardian of ADC class member VT regarding recent assault on his son; Phone
call to M. Brewer regarding her complaints about services for her daughter MB and her
recent serious injuries,' Phone call extended from DO] Counsel regarding settlement
discussions With the Parties; TN e~mail

2005 Guardian Community Status Review (I..S); Meeting with Larry Durbin related to
community provider concerns and barriers to provider development Phone call from S.
Norris regarding Parties Meeting and concerns at ADC regarding assault on class
member VT; Documentation of 2005 Guardian CSR for SH; TN emaH

2005 Community Status Review for GM; Site visit to ADC to review class members VT
and MB in response to guardians' complaints; Meeting at ADC with DMRS officials,
ADC superintendentl and Mr. Thayer regarding poor handling of V'l"s assault incident,'
Phone call to M. Brewer regarding investigation of her concerns related to her daughter
MB; Phone call with W. Connette regarding upcoming Parties' meeting; TN e-mail

Parties Meeting; Phone call from Sarah Edwards (DMRS) regarding class member‘s (DR)
disenrollrnent from the Self Determination Project; Documentation of 2005 Guardian
CSR for LS,' Review of State's Quah'ty Management Committee Minutes for East, Middle,
and West TN (Travel from Memphis to Albany)

Review of TN mail and S]CS 2005 Community Status Review findings

Begin draft of S]CS 2005 Community Status Review report; Documentation of 2005 VOA
Community Status Review for GM; Initial analysis of Community Plan for the Parties;
TN e-mail

Phone call to D. Langl<au regarding nursing consult reviews of ADC class members;
Phone call to P. Nichols regarding Parties Meeting; Review of recently received DMRS
investigations TN e-mail

Draft of Guardian 2005 Community Status Review; Analysis of Community Plan for the
Parties; TN e-mail

TN e-mail

TN e»rnail

Analysis of Community Plan for the Parties; TN e-mail

Analysis of the Community Plan per the request of the Parties; Review of transition
documents pertaining to two medically challenged ADC residents (IT and TC); Review
of death summary for BP an ADC resident prepared by the Monitor's nurse consultantl
TN e-mail

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26-]un Sun 4.00 Review of comments and documents submitted by BIOS in response to draft of the

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Total

8.00

agency's 2005 CSR report

Phone call from Leon Owens regarding abuse allegation at ADC and actions taken;
Phone call from Candi McMorran regarding transition of ]C to a nursing home; Review
of State draft documents revising procedures for handling serious incidents at ADC
(Comments prepared and sent to State officials); Phone call from A. Heart of VOA
regarding a class member (DMc) who had been in research drug study at ADC and his
PCP's desire to withdraw the class member from the study, as well as agency's progress
on its medical residence homes; Phone call from D. Loche (DMRS) regarding State's
disapproval of requested housing subsidy for D]; Phone ca11 from ]. Geissler (DO])
regarding motion for ]C to have a short term nursing home placement pending the
development of an appropriate community home; Phone call with Gaye Hansen CSN on
various class member issues; Meeting with staff members on BIOS 2005 CSR report; TN
mail and e-mail

Staff meeting (focus on completion of 2005 CSR review and upcoming ADC 2005
review); Phone calls with CSN and DMRS regarding ]C; Correspondence to ]udge
Donald regarding motion for ]C's temporary placement in a nursing home; Phone call
with Todd Schneider (DO]) regarding pending motions involving ADC class members
SH and ]C; Final revisions to BIOS 2005 CSR report and cover letter; Phone call from
Tangela Watkins (DMRS) regarding community transitions for D] and AS, E], and GC;
Continued work on Community Plan per Parties' request; TN mail and e-mail

Preparation for ADC review ]uly 12 - 14, 2005; Continued analysis of Community Plan
per the request of the Parties; Phone call from Ruth Roberts regarding nursing
conference; Phone call from G] regarding complaints about his staffing,' TN mail and e-
mail

Guardian 2005 CSR report; Conference call with Alan Bullard and Candi McMorran
regarding BIOS; Meeting with E. Farstad (staff) on ADC hospitalization data study;
Phone call with Dr. Hayes regarding research studies at ADC; Phone call with B. Brown,
advocate for CH, regarding problems with his housing subsidy

180.00 @ $125 = $22,500.00

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Patn'ck ]. Bulgaro
]une 2005
Tennessee Court Hours

Review and analysis of material for planning for meeting of the parties

Meeting with Dr. Ray to discuss status of rate issues and appropriate next steps in
addressing issues at ADC and service access issues in the community.

Review of medical summaries prepared by Darlene Langkau

@ $150.00 = $975.00

Case 2:92-cv-02062-.]PI\/|-tmp Docurpgp]tcg]?lb; C|;iled 08/24/05 Page 10 of 82 Page|D 9719

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eman
Senior Associate
]une 2005

Tennessee Court Hours

Traveled to ADC to review records on Willow. Read email.

Reviewed documents and completed tools in preparation for Easter Seals reviews
Attempted contact with Mrs. Young (Sparkie's mother)/ left message

Traveled to ]ackson to meet nurse consultant P. Hargrove to conduct 2005 CSR visit of
Sparl<ie A. (Easter Seals). Telephone contact with Easter Seals management to discuss
visits. Cleaned up tool and re-reviewed informaion on Donald E.

Traveled to ]acl<son to meet nurse consultant P. Hargrove to conduct 2005 CSR visit of
Donald E. (Easter Seals). Cleaned up tool and re-reviewed informaion on Larry F..

Traveled to ]ackson to meet nurse consultant P. Hargrove to conduct 2005 CSR visit of
Larry F. (Easter Seals.) Re-reviewed documents on Marilyn H. (St. ]ohns).

Traveled to Memphis to meet nurse consultant P. Hargrove to conduct 2005 CSR visit of
Marilyn H. (St. ]ohns). Telephone conference with Dr. Ray to discuss Easter Seals. Also,
met to discuss reviews. Read email.

Participated in Monitor's staff meeting to discuss status of CSR visits and upcoming
ADC reviews. Completed PRRT on Sparl<ie A. (Easter Seals) and submitted to reviewer
1. Read email.

Traveled to ADC interview staff on various units and visit day services program..

OFF WORK

OFF WORK

Completed PRRT on Donald E. and Larry F. (Easter Seals) and submitted to reviewer 1.
Read email.

Reviewed all documents and completed tools on sample for 2005 CSR visit of VOA.
Telephone conference with L4 Truesdale to discuss VOA review schedule Read email.

Reviewed ADC incident report queries. Reviewed information on V. Thayer in
preparation for visit to ADC. Read email.

Traveled to ADC to conduct log review and interview regarding incident with Vernon
T. (DC3). Attended meeting with V. Thayer's father, Dr.Ray, ADC management and
other DMRS representatives to discuss incident

Traveled to Memphis to participate in Tasl< Force Meeting. Also, traveled to Cordova to
attend the ACE banquet

Reviewed PRRT of G. Myers (VOA). Traveled to Memphis to meet l_.. Truesdale and S.
Dowd to conduct 2005 CSR visit of O'L. Mc. (VOA). Re-reviewed Kathy N. and Richard
B.'s information in preparation for visits. Read email.

Traveled to Memphis to meet L. Truesdale and S. Dowd to conduct 2005 CSR visits of
I<N and RB (VOA). Met with reviewers to discuss findings Re-reviewed information
of Donnie C. (VOA).

Traveled to Memphis to meet L. Truesdale and S. Dowd to conduct 2005 CSR visit of
Donnie C. (VOA). Cleaned up review tools. Read email.

Traveled to ]ackson to attend DMRS Providers' Meeting Read email.

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email.

Reviewed PRRTS on Kathy N and Olinda Mc. Completed PRRTs on I<athy N. and
Olinda Mc for reviewer 1. Read email.

Participated via phone in Monitor's staff meeting to discuss 2005 CSR visits and
upcoming ADC visits. Traveled to ADC to attend DMRS Hearing on new Rate
Sh‘ucture.

Typed entire notes from Rate Structure Hearing and submitted to office. Began
reviewing documents and completing tools in preparation for MHDS 2005 CSR visits.
Read email.

Completed review of MHDS documents Reviewed ADC final investigation cases.
Read email.

@ $70.00 = $12,320.00

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Lynn M. Tmesdale
Research Assocz'ate
]une 2005

Tennessee Court H ours

Phone call with MC regarding MGH's transition; Phone call to L. Guy and N. Staples regarding
MGH's transition; Phone call with CSN regarding skin assessment for DM; Discussed MGH
transition issues with N. Ray; Reviewed summary report of BG; Completed schedule for VOA
reviews and Guardian reviews and submitted to C. Dowd for calls,' Phone call to A. Tosh
regarding updated guardian/ conservator lists for class members; Reviewed tn e-mail;
Reviewed DM's final Transition Plan; Phone call with MM's ISC

Reviewed BIOS draft report along with combined PRRTs and added additional comments to
the report; Sorted through BP's death file and requested additional documents from S. ]ohnson
]ones,' Reviewed TN mail; Printed transition info. for Guardian CSR; Reviewed WTFS draft
report; Reviewed DM submittal; Sent emaH to

Reviewed Community lnvestigations and sent e-mail to N. Ray regarding one investigation;
Located and taxed confirmation to VVC and Easter Seals; Sent review schedules to VVC for
VOA and printed and submitted schedules to CMD; Reviewed Community Investigation
Reports and sent e-mail to N. Ray

Saturday
Sunday

Sent e-mails to C. McMorran and L. Guy regarding transition status; Sent e-mail to L. Guy
regarding issue with DM's Transition Plan; Reviewed several Community Investigation
Reports and entered data into database; Sent e-mail to N. Ray about my concernswith one
investigation reviewed; Reviewed list of reports still not closed and called G. Pruitt regarding
the status; Reviewed TN e-mail

Prepared documents for the staff meeting (transition visit list, revised CSR schedule); Attended
staff meeting; Reviewed Death lnvestiga|ion Report of BG,' Reviewed Remedial Order Exhjbit
list and dates reviews were conducted in preparation for the 2005 Remedial Order Exhibit
Review schedule,' Updated Transition Tracking Database from L. Guys e-mailed update;
Reviewed Environmental Tools received by ADC Central Monitoring; Reviewed second draft
BIOS report (first 6 sections)

Gathered reviewer 1 and 2 documents for the VOA Community Status Review (CSN Weekly
Updates, extra packets for the second reviewer 2, requested more current ISPs); Sorted
Community lnvestigations and entered information from the West TN lnvestigation Log into
Abuse/Neglect data base; Reviewed Community lnvestigations and entered findings into
neglect data base

Reviewed BIOS draft report along with combined PRRTS, reviewed CSN weekly reports for
past year, highlighted medication administration issues; Added additional comments to the
BIOS report; Reviewed TN mail; Phone calls to lSCs for OM and KN for current ISPs;
Reviewed Community Abuse and Neglect investigation reports and entered data and
comments into database

Sent e-mail to S. ]0nes regarding ISP effective dates; Reviewed Community Abuse and Neglect
investigation reports and entered database,' Searched and printed directions for four VOA
reviews; Reviewed ]ames G.‘s final transition submittal for consistency and accuracy;
Reviewed Dr. Hayes report on DC; Printed and copied ISPs for VOA reviews; Sorted,
formatted, and printed 2004 Community investigation Log for NKR's review

Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 13 of 82 Page|D 9722

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Saturday

Sunday

Reviewed final BIOS report in preparation for conference call; Phone call with T. Watkins
regarding AS and D]'s transition; Sent e-mail to S. ]ohnson jones requesting ISPs for several
class members (OS, CT, TC, AB, MA, LP); Participated in conference call with N. Ray, ].
Holman and BIOS staff, E. Farstad (extended); E-mailed L. Anderson in regards to Open Arms
case and recommendation follow-ups; Made air reservations for ]uly TN trip,' Sent requested
information to S. Youngblood and ]. Holman (MM CSN Contact Notes, MA CSN Risk Reports,
and PRRT)

Reviewed AOD Reports; Pulled together requested information for BIOS; Reviewed, revised,
updated ADC Performance Review Rating Tool, ADC Environmental Too; Reviewed previous
ADC samples and developed new Person Centered Review sample; Phone call with V.
Coleman regarding schedules and reviews; E-mail to S. Dowd regarding VOA schedule

Reviewed Community Abuse/Neglect investigation reports and entered data/ comments into
data base; Sent e-mail to S. ]ohnson ]ones regarding document request for DC; Reviewed TN e~
mail; Reviewed Community Status Review materials (lndividual Support Plan, CSN reports,
notes, ISC notes) for OM and took notes in preparation for review

Reviewed Community Investigations and entered data / comments into Abuse/Neglect
database; Sent e-mail to N. Ray regarding concerns/ questions of several investigation cases;
Reviewed Community Status Review materials (lndividual Support Plan, CSN reports, notes,
ISC notes) for KN and took notes in preparation for review

Reviewed Community Status Review materials (Individual Support Plan, CSN reports, notes,
ISC notes) for RB and took notes in preparation for review; Reviewed Community
Investigation Log 2004 for "types" of substantiated reports; Reviewed Community Abuse and
Neglect 2005 reports and entered comments/ data

Saturday
Sunday

Traveled from Albany to Memphis; Reviewed documents for the upcoming reviews and took
notes; Conducted the Community Status Review at OM‘s home (VOA) in reviewer 2 areas
(home environment and safety, personal care and dress, neighborhood and yard, meals,
transportation)

Conducted the Community Status Reviews at two class members homes (KN and RB) at two
different homes (both VOA) in reviewer 2 areas (home environment and safety, personal care
and dress, neighborhood and yard, meals, transportation) ; Discussed review findings with V.
Coleman and S. Dowd; Ensured all hand written tools were completed

Conducted the Community Status Reviews at DC's home in reviewer 2 areas (home
environment and safety, personal care and dress, neighborhood and yard, meals,
transportation); Ensured handwritten tools / comments were complete; Reviewed TN e-mail

Traveled from Memphis to Albany; Reviewed tools and listed all-around issues and possible
scores for the homes reviewed; Typed Performance Review Rating Tool findings for KN in
reviewer 2 areas (home environment and safety, personal care and dress, neighborhood and
yard, meals, transportation)

Reviewed TN e-mail; Reviewed reviewer findings for OM and DC and tools and typed my
Performance Review Rating Tool findings in reviewer 2 areas for OM and DC (home
environment and safety, personal care and dress, neighborhood and yard, meals,
transportation)

Saturday

Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 14 of 82 Page|D 9723

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Sunday

Reviewed information/ feedback submitted by BIOS and logged in their documentation into a
chart and developed comments for each document submittal (this required reviewing the
details in the PRRTs, the draft BIOS report, BIOS comments, and BIOS documentation);
Meeting with N. Ray and Erin F. regarding the BIOS draft report; Reviewed community
transition information for AS and D]

Prepared documents for the staff meeting (transition visit list, revised CSR schedule, exhibit
list, etc.),' Attended/ participated in staff meeting to discuss TN review schedules and status of
CSR reports; Prepared and submitted MHDS schedule to C. Dowd for provider phone call;
Called VOA to notify them of our transition visit to DM's home; Completed Performance
Review Rating Tool findings for RB in reviewer 2 sections; Sent e-mail requesting documents
for the ADC review to Central Monitoring; Reviewed TN e-mail

OFF

Re-Reviewed BIOS report and made final comments; Reviewed ADC Reportable Incidents and
selected new/ revised ADC sample; Developed list of August-December TN reviews / activities
to be completed,' Reviewed TN mail; Reviewed Community Abuse and Neglect Investigation
Reports and entered the data

Total 168.00 @$50.00 = $8,400.00

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Colleen M Dowd
Ojj’ice Administrator
]une 2005
Tennessee Court Hours

TN email,' Finalized mailing of the first nine Provider CSR reports to the Parties; Continued with
finalizing the Mosaic CSR report and emailed copy to LaBarbara Houston (Executive Director); Began
preparation of May Court Invoice; Proofed a Declaration of Nancy Ray regarding class member
Sondra H. and mailed to Woody Connette,' Resent Community Surveys to Randall Morford and
Vickey Wallace (Guardians); Entered bills; Tracked incoming Community Surveys;

TN email; Began preparation of the ADC Survey to Guardians,' Staff times.heets; CaI]ed Times Union
re: error in billing; Made Monitor's revisions and proofed WTFS CSR report; Tracl<ed incoming
Community Surveys;

TN email; Completed the ADC Survey mailing; Tracked incoming Community surveys; Processed
Expense Vouchers; Paid bills; Payroll; spoke with Maureen Reynolds (Key Banl<) re: our LOC; Spoke
with Pat Bulgaro re: hi availability for 6/ 6 conference call with the Parties;

Continued work on ADC Guardian Survey mailing;

Weekend

TN email; Finalized the ADC Guardian Survey mailing; Made revisions to WTFS CSR report; Prepared
mailing of the Mosaic CSR report; Entered / paid bills; Prepared documents for Guardian, VOA and the
State regarding their upcoming CSR; Faxed US Airlines to request airline receipt for Monitor's May
17th trip to Memphis; Prepared Monitor‘s expense voucher for May 17-20th trip; Made Kel.ly Morris's
revisions to WTFS CSR report; Emailed Paul Landers the draft WTFS CSR report; Printed up requested
reports for ]ohn Driessan (accountant) for end of year;

TN email; Staff Meeting; Began formatting of Critical Comp]iance Report; Emailed CSR template to
Cheryl Ouimet (consultant); Completed fiscal reports needed for ]ohn Driessan (accountant); Tracked
Community Guardian Surveys; Downloaded CSN notes for VOA and Guardian and copied those
pertinent to upcoming review; Revised CSR schedule for Guardian and notified Harold Sloves and the
State; Revised Monitor‘s travel calendar; Updated office calendar;

TN email; Continued formatting of the Critical Compliance Report; Began formatting and made
Monitor's revisions to BIOS CSR report; Logged in TN email; Prepared envelopes for mailing of WTFS
CSR report;

TN email; Downloaded and copied ISC notes for upcoming Guardian CSR; Made calls to VOA, the
State, and ISCs notifying them of VOA's upcoming CSR and requesting documents needed; Resent
Community Surveys to two Guardians with corrected addresses; Copied three class member files of
Medical Record Summaries with recommendations pertinent to Community transitions forl Pat
Bulgaro to review,' Entered bills; Logged in TN mail; Completed Insurance request information form
for Vickey Coleman; Prepared WTFS CSR report for mailing;

TN email,' Met with lohn Driessan (accountant) re: end of year financials; Logged in TN mail; Made
formatting and revisions to BIOS CSR report; Prepared FedEx to Darcey Donehey from the Monitor;
Downloaded and copied ISC notes for Guardian and VOA CSR review; Reconciled bank accounts;
FedEx'd materials for CSR VOA Review to Vickey Coleman;

Weel<end

Weekend

TN email; Coordinated a conference call with the Monitor and Eddie Miller/]oe Holman (BIOS),'
Prepared ADC Survey for conservator Katie Huggins; Processed expense vouchers; Staff timesheets;
Checked Monitor and Bonnie Maxon (consultant) on flights to Memphis for 6/ 14 trip; Spoke with ADP
re: the revised New Hire Reporting Requirements as of ]uly 1, 2005; Entered bills; Revised Monitor's
travel calendar;

TN email,' Processed expense vouchers,' Made travel arrangements for l_.ynn Truesdaie; Began
preparation of May Court lnvoice; Made hotel reservations for Vickey Coleman for the annual Staff
Retreat in Albany,' Staff timesheets,l Redacted class members names in the MOSAIC CSR report;

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d tmland

TN email; Reorganized supply cabinets; Ordered Postal and FedEx supplies; Finalize

reread CSR report,' Set up additional QB accounts for Darlene Langkau (consultant) ; Redacted names
in WTFS CSR report; Prepared binder of Docket listing and Tabbed Substantive Orders; Prepared
envelopes for mailing of CSR reports for BIOS, Easter Seals, Guardian, St. ]ohns and MHDS; and VOA;
Computer file maintenance;

TN email; Emailed all providers to update phone directory; Revised and printed phone directory for
staff; Cleaned out files for end of fiscal year; Prepared templates for Court Logs for Monitor;
Reconfirmed travel arrangements for Shauna Williams and Lynn Truesdale‘s 6/ 20 trips to Memphis;
Spoke with Hertz re: two free day car rentals for Lynn on 6/ 20 trip; Updated travel information for all
staff and consultants; Purged employee and consultant files;

TN email; Payroll; Finalized May Court Invoice; Changed phone message for earlier closure of office;
Continued cleaning out files for end of year; Spoke with Bethlehem Chamber of Commerce re: open
enrollment and changes to insurance for Lynn Truesdale; Searched and printed required employment
poster USERRA for display in office; Paid bills; Staff timesheets; Updated office calendar; Emailed
Darlene Langkau (consultant) re: ]uly 12 trip to ADC and information needed to set up travel,'
Electronic file maintenance ;

Weekend

Weekend

Personal Time

Personal Time

Opened mail, Met with Ben (Solutions By Design) to set up scanner and general computer
maintenance; l

Personal Time

Personal Time

Weel<end

Weekend

TN email; Entered and paid bills ,' Payroll; Processed expense vouchers; Met with Monitor to review
end of year numbers;

TN email; Staff Meeting; Met with john Driessan (accountant) for close of fiscal year; Copying of
Quality Review Tools for staff; Spol<e with Shauna Williams and Darlene Langkau re: schedule
availability for upcoming ADC Review; Made travel arrangements for the Monitor and Darlene
Langkau (consultant); Made calls to: Madison Haywood, DMRS, and ISCs to inform them of the CSR
schedule and document request for Madison Haywood; Staff Meeting; Prepared mailing of
documents to Vickey Coleman; Copied ISC notes for CSR of Madison Haywood for the reviewers;

TN email; Payroll; Banl<ing,' Fed Ex'd Court Invoice to the State and judge Donald,' Staff timesheets;
Updated office calendar and Monitor‘s travel calendar; Processed expense vouchers; Finalized Bios
report and prepared for mailing; Ordered reprints of Performance Expectation for Providers for BIOS
training from Camelot legal Copy; Prepared mailing of documents for upcoming ADC review to
Darlene Langkau (consultant); Made Monitor's revisions to BIOS report and proofed;

Personal Time

Total 131.00 @ $50.00 = $6,550.00

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Erz'n Farstad
Resem'ch Associate
]une 2005
Tennessee Court Hours

]une 1 8.00 Entered Community lncident Reports for 5 / 14 / 05 ; filed mail; researched laptop computers for
office and travel use; Entered completed Family/Conservator Satisfaction Surveys into
database; Reviewed BIOS incident management policy and added summary to lncident Review,
Reporting and Follow-up document

]une 2 8.00 Entered AOD report into database for 5/ 31 / 05; Printed combined Bios PRRT for L. Truesdale;
Finished summarizing Bios lncident Management Meeting Minutes and Policy,' Entered
Family/ Guardian survey results into database ; Entered Family/Guardian survey comments into
database; Entered PCRTs into database for WI'FS; Entered PRRT into database for E];
Summarized Spectrum's incident reporting and policy; Reviewed 2005 CSR for BIOS.

]une 3 8.00 Entered AOD report into database for 6/1/05; Entered Family/ Guardian surveys and comments
into database; Read over St, ]ohn‘s materials for 2005 CSR next week; Filed mail.

]une 4 0.00 Weekend '

]une 5 0.00 Weekend

]une 6 8.00 Emailed S. ]ohnson-]ones requesting monthly census data for ADC from 1/ 01 to present;
Reviewed St. ]ohn‘s files for upcoming CSR; Entered AOD report for 6/4/ 05.

]une 7 8.00 Attended staff meeting; updated hospitalizations and worked on analyzing data; researched
laptop computers for office use; entered family/ guardian survey results and comments into
database; reviewed RD's ISP for 2005 CSR.

]une 8 8.00 Travel to Tennessee; Conduct 2005 CSR of DC's home; Review materials for review of DO's

]une 9 8.00 Conduct review of DO's home; review materials for RD; finish tools for DC.
]une 10 8.00 Conduct review of RD's home; complete review tools for DO and RD.

]une 11 0.00 Weekend

]une 12 0.00 Weekend

]une 13 8.00 Entered AOD report for 6/ 8/ 05; entered family/ conservator satisfaction surveys and comments
into database; Attended conference call with N. Ray, L. Truesdale, S. Youngblood, A. Higgs, ].
Holman, and E. Miller regarding results of 2005 CSR for BIOS; Updated combined Bios PRRT
for 2005 CSR; Updated 2005 CSR PRRT summary worksheet

]une 14 8.00 Entered AOD report for 6/ 10 / 05; Entered family/ conservator satisfaction surveys and
comments; Filed mail; Entered Community lucith Reports for 5/21-6/3; Entered 2005 CSR
Home Staff lnterviews for St. }ohn‘s,' Completed PRRT for DC.

]une 15 8.00 Completed PRRT for DO; Completed PRRT for RD; filed mail,' Spoke with ]. Holman and S,
Youngblood regarding BIOS report

]une 16 8.00 Entered Service Denials for May 2005; trended Service Denials for May 2005; filed mail.

]une 17 7.00 Combined Guardian PRRT for SH with Reviewer 1 and 2 information and e-mailed results to N.
Ray and B. Maxon; Combined PRRTs for St. ]ohn's and printed for N. Ray; Made a list of
Guardians/Conservators who have not returned Guardian/Conservator Satisfaction Survey;
continued bending Service Denial informationl

` ]une 18 0.00 Weekend

]une 19 0.00 Weekend

]une 20 8.00 Combined and printed Guardian PRRTs; Updated, combined and printed St. lohn's PRRTs;
Entered PCRTs for SH, GM, and LS into 2005 CSR database; Entered PRRTS for GM, SH, l_.S, DC,
RD, and DO.

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Entered Community and ADC lncident reports into 2005 database; Entered ADC

Family/ Conservator Satisfaction Surveys into database.

Entered ADC lncident Reports for May 2005; Entered Home Staff lnterview Tools for GM, SH
and l..S for 2005 CSR; Sent e-mails to SMW, VVC and CO requesting completed review tools
from 2005 CSR; Entered ADC Family/ Guardian Survey Comments.

Filed mail; Read over MB's requested information, including: ISP, ISP Addenda, Assessments,
Reviews, Evaluations, Plans and Notes; Entered ADC Family/ Guardian survey and comments
into database

Entered ADC Family/ Guardian Satisfaction Survey results and comments into database;
Worked on Hospitalizations charts for ADC residents 1/ 01-5/ 05.

Weekend

Weekend

Entered PCRTs for GW, E], and PH; Entered Home Staff lnterview Tool for MG; Entered AOD
report for 6 / 26 / 05; Entered results and comments for ADC and Community Satisfactions
Surveys; Entered PCRTs for PA, SG, KL, and MM; Combined Easter Seals PRRTs for SA, DE, LF
and sent to P. Hargrove and V. Coleman; Worked on addressing issues on BIOS Report with L.
Truesdale and N. Ray.

Entered AOD report for 6 / 27/ 05; Attended staff meeting; Entered Community lncident Reports
for ]une 2005; Combined VOA PRRTs for DC, OM, and GM; Entered missing PRRT information
for BIOS; Entered PCRTs for DC, RD, and DO; Added RB to Combined PRRT for VOA; Revised
2005 CSR for BIOS according to comments made by NKR at meeting on 6 / 27/ 05.

Entered Hoine Staff Interview tools for DC, KN, OM, and RB; Entered PRRTs for RB, DC, OM,
and MH; Made new charts for hospitalizations file; Discussed validity and usefulness of all
Hospitali.zations charts with N. Ray; Filed mail.

Entered AOD report for 6 / 28/ 05; Entered Community/ADC satisfaction survey results and
comments into database; Formatted 2005 CSR combined PRRTs for VOA; Worked on formatting
charts for Hospitalizations; Added KN's PRRT results to 2005 CSR PRRT Summary; Read over
2005 CSR for BIOS.

Total 175.00 @ $40 =$7,000.00

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Kelly A. Morris
Research Associa te
june 2005

Tennessee Court Hours

Logged in Tennessee correspondence; updated end of the month class member count database to reflect
moves during May; updated guardian address database; reviewed and edited the Mosaic Community
Status Review Report; set up database for guardian survey comments; compiled lnvestigation
information, CSN Weekly Status Update information, and Crisis Management Reports in preparation
for Community Status Reviews of Guardian

Logged in Tennessee correspondence; compiled lnvestigation information, CSN Weekly Status Update
information, and Crisis Management Reports in preparation for Community Status Reviews of VOA;
spoke with conservator of class member regarding concerns; updated ADC Hospitalization database

Reviewed Clinical Death Summaries of class members DB, CN, and SP; logged in Tennessee
correspondence; reviewed the ]une issue of the Arlington Tabloid; organized materials for next week's
reviews of St. ]ohn's

Reviewed and edited the WTFS Community Status Review report; logged in Tennessee
correspondence; spoke with E. Farstad regarding conducting reviews of St. ]ohn‘s; began reviewing
materials for review of DC and taking notes on tools

Attended staff meeting; logged in Tennessee correspondence; continued reviewing materials for review
of DC and taking notes on tools

Flew from Albany to Nashville; drove to ]ackson; conducted review of the St. ]ohn's home of DC;
reviewed materials for review of RD and taking notes on tools

Reviewed notes in preparation for review,' conducted review of St. ]ohn's class member DO; reviewed
and further documented on tools for DC and DO; discussed reviews with C. Ouimet and E. Farstad

Reviewed notes in preparation for review; conducted review of St. ]ohn's class member RD; reviewed
and further documented tools; discussed review with C. Ouimet and E. Farstad; drove from ]ackson to
Nashviile; flew to Albany

Put together, organized, and created cover sheets for medical record documents for BP for nurse
consultant; reviewed Tennessee e»mail correspondence for past few days,' logged in Tennessee
correspondence for past few days

Reviewed nurse consultant write-up of review of TT's medical files; logged in Tennessee
correspondence; reviewed comments made by parents on the Monitor's Office satisfaction survey;
began write-up on PRRT of review of DC,' general office filing; updated guardian addresses; updated
databases to reflect transitions from ADC to community homes

Completed write-up on PRRT of review of DC; logged in Tennessee correspondence; updated ADC
I-Iospita]ization database; completed write-up on PRRT of review of DO

Logged in Tennessee correspondence completed write-up on PRRT of review of RD; spoke With ADC
class member guardian regarding satisfaction survey and concerns he has regarding funding

Logged in Tennessee correspondence; reviewed Easter Seal‘s spring newsletter; updated guardian
address database and sent out surveys to updated addresses

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Downloaded NKR Associates e-mail correspondence; logged in Tennessee correspondence; entered
Community Guardian Satisfaction Survey results and comments into databases; updated ADC
Hospitalization database

Logged in Tennessee correspondence; set up ADC Guardian Satisfaction Survey results and comments
databases; entered Community Guardian Satisfaction Survey results and comments into databases;
downloaded NKR Associates e-mail correspondence; updated ADC and community guardian
addresses and phone numbers '

Downloaded NKR Associates e-mail correspondence; logged in Tennessee correspondence; contacted
ISCs to request updated ISPs; organized the medical records of Deborah Cooper and created cover
sheets for each section for nurse consultant

Downloaded NKR Associates e-mail correspondence; logged in Tennessee correspondence; created
charts of CSN Weekly Status Updates for Madison Haywood clients being reviewed; printed out and
copied materials for review

Downloaded NKR Associates e-mail correspondence; logged in Tennessee correspondence; contacted
provider agencies to obtain current guardian addresses; created summary charts of investigations and
Crisis Management Reports for Madison Haywood for Community Status Reviews

Logged in Tennessee correspondence; spoke with ComCare conservator K. Huggins about satisfaction
surveys; contacted B. Sartain to obtain current conservator addresses and updated them in database;
updated ADC Hospitalization database

Attended staff meeting; logged in Tennessee correspondence; updated class member databases to
reflect those reviewed for the 2005 CSR,' filled in Community Participation sections of Person Centered
Tools for St. ]ohn's individuals

Logged in Tennessee correspondence,l began creating chart for post-transition review of Dean McCall;
thinned completed CSR folders of unnecessary materials; rearranged and organized files

Performed back-up of server,' downloaded NKR Associates e-mail; logged in Tennessee
correspondence; created new labels for files; reviewed, edited, and conducted mailing of the Bios
Community Status Review report; updated class member databases to reflect transitions; updated ADC
I~Iospitalization database

169.00 @$50.00 = $8,450.00

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Assz'stant Research Associate

]une 2005

Tennessee Court Hours

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]une 16 2.00 Pre-review of RBr for upcoming CSR 2005 trip ;

]une 17 1.25 Pre-review of DC for upcoming CSR 2005 trip;

]une 18 0.00

]une 19 0.00

]une 20 8.00 Travel from ROC to MEM; Pre»review of OM for CSR 2005; Called into office re: CMD
out of office; Review of CSR 2005 OM;

]une 21 8.00 Review of CSR 2005 KN; Review of CSR 2005 RBr;

]une 22 8.00 Review of CSR 2005 DC; Completion of hand tools for DC;

]une 23 8.00 Travel from MEM to ROC; Completion of hand tools for I<N, RBr, and OM;

]une 24 5.00 Read NKR‘s email of GM'sPRRT; Phoned VVC and LMT re: CP sections of review;
Completed OM's PRRT; Emailed to LMT; Completed DC's PRRT; Emailed to VVC;
Updated court time log;

]une 25 1.50 Received email from VVC of RBr's PRRT; Completed RBr's PRRT and emailed to LMT;

]une 26 0.00
]une 27 0.00
]une 28 0.00
]une 29 2.50 Received I<N‘s tool from VVC; Completed KN's PRRT; Emailed KN's PRRT to EF;
]une 30 0.00
Total 44.25 @ $40.00 = $1,770.00

 

 

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Nancy K. Ray, Ed.D.
Monitor for the Remedial Order
NKR & Associates, Inc.

318 Delaware Avenue
Delmar, NY 12054
XXX-XX-XXXX

ExPENsEs 6 / 14-17/ 05

PURFOSE:

]UNE 14 - (Travel to Memphis), 2005 Guardian Community Status Review (SH); Phone call from
V. Thayer (guardian of ADC class member '\/'T) regarding recent assault on his son; Phone call
to M. Brewer regarding her complaints about services for her daughter MB and her recent
serious injuries; Phone call extended from DO] Counsel regarding settlement discussions with
the Parties; TN e-mail

]UNE 15 - 2005 Guardian Community Status Review (LS); Meeting with Larry Durbin related to
community provider concerns and barriers to provider development Phone ca11 from S. Norris

regarding Parties Meeting and concerns at ADC regarding assault on class member VT;
Documentation of 2005 Guardian CSR for SH; TN e-mail

]UNE 16 - 2005 Community Status Review for GM; Site visit to ADC to review class members VT
and MB in response to guardians' complaints; Meeting at ADC with DMRS officials, ADC
superintendent and Mr. Thayer regarding poor handling of VT's assault incident; Phone call to
M. Brewer regarding investigation of her concerns related to her daughter MB; Phone call with
W. Connette regarding upcoming Parties' meeting; TN e-rnail

]UNE 17 - Parties Meeting; Phone call from Sarah Edwards (DMRS) regarding class member's
(DR) disenrollment from the Self Determination Project; Documentation of 2005 Guardian CSR
for l_.S; Review of State's Quality Management Committee Minutes for East, Middle, and West
TN (Travel from Memphis to Albany)

ExPENsEs:
U US Airlines (Albany-Memphis-Albany, 6 / 14-17 / 05) $ 663.801
n Hiiton (Memphis, 6/14.17 /05) s 278.28
a Hertz (Memphis, 6/14-17‘/05) s 206.35
n Per Diem (4 days @ $42/ day) $ 168.00

71 (/Q/

1 Flight changed to accommodate ]une 17, 2005 Parties meeting. Ticket price includes $100 change fee.

TOTAL $ 1316.43

 

 

 

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US Ainivays -> reissue confirmation

Thank you for using US Airways.

o Boarding passes and government issued photo identification are required at airport security checkpoints

c For domestic U.S. travell print your boarding pass and check-in on|ine at usairways.com starting 24 hours before
your flight Save time and earn bonus miles every time. More at www.usaimameMightche_ck_in

o View recommended Check-in times for your departure at www;i._isainvays.comltrave|/a_i_r_pgg

 

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Changes in Travel P|ans

Pena|ties andfor an additional charges may apply

Tickets are non transferable and valid for one year from date of ticket issuance

To retain the value of a non-refundable ticket. flights must be cancelled onlbefore the ticketed travel date
Ticket changes may be made on|ine

For additional information please view US Airwavs Terms of Transportation

Documentation For international Trave|

o For international trave|. a valid passport or visa may be required depending on nationality, travel destination and
country or countries in which connections take place. Passengers are responsible for compliance with a||
government travel requirements View specific documentation requirements on the U.S. Department of State
Website: www.tra_ve“l._statielmfgage| warningshm.

Tuesday, May 31, 2005 America Online'. nkrassociates

 

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To check your earnings for this stay or a y other stay at more than 2, 70
hotels worldwide visit www.hiltonhhono .com

best available Net Direct ratesl plan a s eciai vaca on getaway or select a

Thank you for choosing H toni Please v if us at hil+on.com to view our
convenient location for yo yr next busine s frip.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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® 1 1 3258 A
Zip-Out Check-Out
Good Moming ! We hope you enjoyed your stay. With ij-Out Check-Out® AuTi-loRizA'rioN cnmiu_
there is no need to stop at the Front Desk to check out.
' Plcase review this statement lt is a record of your charges as of late last pURCHAsES & SEHVICFS
evening.
° For any charges after your account was prepared, you may: TAXES
+ pay at the time of purchase
+ charge purchases to your account then stop by the Front Desk for an
updated statement T'Ps "‘ MISC'
+ or request an updated statement be mailed to you within two business days.
Sirnply call the Front Desk from your lroom and tell us when you are ready to ma mom
depart. Your account will be automatically checked out and you may use this

 

 

statement as your receipt Feel free to leave your key(s) in the room.
Pleas¢ call the Front Desl¢ ifyau wish to extend your stay or ifyou have any
questions about your account

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Page|D 9734

 

 

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Vickey V. Coleman
835 Oak View Loop
Bolivar, TN 38008-3881
XXX-XX-XXXX

Expenses for Month of ]une 2005

EXPENSES
' Mileage Reimbursement for the month of ]une 2005
" Per diem @ $25.00 x9 days for ]une 2005

' Postage for 2005 CSR tools

TOTAL

llny dill/mrc O/) We/

Page|D 9735

$495.00
$225.00

$5.05

$725.05

 

 

 

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Vickey V. Coleman

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

835 Oakview Loop
Bolivar, TN 38008-3881
XXX-XX-XXXX

Date Destination Mileag§_
6/1/2005 HOme/Office to ADC* 102 `
613/2005 HomelOfiice to Jackson 76
6/4/2005 HomelOfiice to Jackson 76
eis/2005 Home/orrice io Jackson 76
6/6/2005 HomelOffice to Memphis* 118
6/8/2005 HomelOffice to ADC* 102
6i16i2005 HomeiOf‘Hce to ADC* 102
6/17/2005 HomelOffice to Memphis & Cordova* 127
6/20/2005 HomeiOffice to Memphis* 118
6/21/2005 Home/Office to Memphis* 118
6/22/2005 HomeiOffice to Memphis* 118
6/23/2005 Home/Office to Jackson 85
6/28!2005 HomelOfflce to ADC* 102
Total Mlleage 1320

Total Reimbursement@ 37.5 centslmi|e $495.00

 

 

 

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\ \¥
80 'iAR MPO
BOLI‘ lennessee
089998

50508-0098

’05/23/2005 .11658-3231 02:54 : 31 PM

-------- Saies Receipt ----
Product Sale Unit Finul

 

 

Description Oty Price Prlce
DELMAR NV 12054 Priority $5.05
Maii

Issue PVI: $5.05

Toiai ;
Paid by:
cash $5.05 blm

Bill#: 1000200246311
Clerk: 02

- Aii sales final on stamps and postage. -
Rafunds for guaranteed services only.
Thank you for your business.
Customer Copy

 

 

case 2.s2-cv-o2oe2-Jwivi-imp uocumeni 2042 i-iieci 08/24/u:> Pa©'“e 29 or 82 PagelD 9738

Erin Farstad
Research Assistant
918 Randall Road
Nisl<ayuna_. NY 12309
XXX-XX-XXXX

ExPENsEs 6/8/05 - 6/10/05

PURPOSE:

]UNE 8 - (Travel to Nashville); Conduct 2005 CSR for DC

]UNE 9 - Conduct 2005 CSR for DO; Completed PRRT tool for DC

]UNE 10 - Conduct 2005 CSR for RD; Completed PRRT tool for DO; Travel to Albany

ExPENsEs:
D US Airways [Albany-Nashville-Albany (6/ 8 - 6/ 10 / 05)] $ 304.80
El Country Inn & Suites, ]ackson (6/ 8 - 6/10/05) $ 126.22
El Per Diem (3 days @ $42/ day) $ 126.00

TOTAL $ 557.02

 

 

Yahoo! Mail - eprinccsa@yahoo.com
Cas'e 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 30 of 82 Page|D 9739

'Y-KHQO!® MAH~ Print - Close Windovv

Date: Thu, 19 May 2005 11:58:16 -0700 (PDT)
From: tickets@usairways.corri
To: EPRINCESA@YAHOG.COM

Subject: US Airways Ticket Confirmation

U'S A_l RWAYS

 

 

usairways.com -> confirmation

Thank you for using usairways.com.

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¢ Boarding passes are required at airport security checkpoints
o 'Print your boarding pass and check~in online at usairways.corn starting 24 hours before your flight
Save time and earn bonus miles every time. More at www.usairwavs.comltlightcheckin

lCont"lrmation Code: JBVPDW

 

   

 

tis.airiivays

ltinerary Date Flight Fare Class Seats
a:osA oean Aibany, NY (Ai_si .
io:oeA Arrive charlotte NC (ctr) Jun 8 US A‘“"'ays 1041 V 139
11:15A Depart Chariotte, NC (CLT) .
11:37A Arrive Nasriviiie, TN {aNA) 1111 8 US A"Ways 941 V 045
6;001= began Nashviiie, TN (BNA} ' _
3:11:= Arrive chariritte, Nc (cLT) Jun 10 US A"'WBVS 297 V 045
S:ZDP Depart Charlotte. NC (CLT) .
11:21P Arrive Albany, NY (ALB) Ju" 10 US A"”Ways 1243 V 1199
Ticket information .,._
Traveier Frequent F|yer Ticket Number Base Fare Taxes & Feesltiner Tota| x
FARSTAt)/Enii\i us i-'847H56 0372177733994 , 251.16 53.64 304_80- ‘

- \`~_,___,__
Payment information

USDBD4.80 has been billed to: x)cxxxxxxxxxx6394 a Exp. 05107

Ticket restrictions EM,M

STNDBY!CHG FEE/NO RFND!'CXL BY FLT DT/AFT DPT CHG BY FLT DT

 

 

 

Changes in Travei P|ans

Ticket _ch@g_es may be rr.=.de online

Penalties and/or an additional charge may apply

Tickets are non transferable and valid for one year from date of ticket issuance

ll To retain the value of a non-refundable ticket flights must be cancelled onlbefore the ticketed

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http://us.f502.mail.yahoo .com/ym/Showl. etter?box=inbox&l\/lsgldzli 009_5 3 803 6_5 8030_... 5/19/2005

Case 2:92-cv-02062-.]P|\/|-tmp Document 2042 Filed 08/24/05 Page 31 of 82 Page|D 9740

 

 

 

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Ke]ly A. Motris
Research Associate
4 Farnsworth Dr., Apt. 4
Slingerlands, NY 12159
XXX-XX-XXXX

Expenses for 6/8/05 - 6/10/05

Purpose: To conduct Community Status Reviews of the supports and services of St.
]0hn’s class members DO, DC, and RD

Expenses:
- 'Us Attways Albany to Nashvttte (6/3/05) to Albany (6/10/05) $304.80
o Lodging= country too & sottes, Jo¢kson (6/8 _ 10/05) $126.22
0 Per Diem @ $42/day X 3 days $126.00

TOTA.L $557.02

/l”i/

W»W' rio/ito

 

 

Yahoo! Mail - kellyam?O?@yahoo.com regs t ut 4
Case 2:92-cv-02062-.]P|\/|-tmp Document 2042 Filed 08/24/05 Page 33 of 82 Page|D 9742

Woo!a, MA f L Prlnt - Close Window

Date: Thu, 19 May 2005 11:50:46 -0700 (PDT)

 

From: tickets@usainlvays.com

 

To: KELLYAM707@YAHOO.COM

 

$ubject: US Alrways Ticket Confirmation

 

U'S AI RWAYS

 

 

usairways.com -> confirmation

Thank you for using usainlvays.com.
§ U'S AIRWAYS 1 W "

o Boarding passes are required at airport security checkpoints
o Print your boarding pass and check-in online at usairways.com starting 24 hours before your flight.
Save time and earn bonus miles every time. More at www.usairways.cornl'f|ightcheckln

 

 

 

 

 

 

 

Confirrnation Code: KAPUVP treat i .l'W a ya
itinerary Date Flight Fare C|ass Ssats
:05A Depart Albany, NY (ALB) .
10:06A Arrive Chariotte, NC (CLT) Jun 8 US A"Ways 1041 V 1313
11:15A Depart Char|otte, NC (CLT) . '
11 :31A Arrrvo Nashvtllo, TN (sNA) Jun 8 113 A"Ways 941 V 045
:00P Depart Nashvi|le, TN (BNA) .
:11P Arttvo charlotto, Nc (cl_T) J““ 10 US A"W"“YS 207 V 1145
:20P Depart Char|otte, NC (CLT) .
11 :21 P Arrivo Albany, Nv (ALB) Jun 10 113 A'“”ays 1243 V 1190
Ticket lnformation
Trave|er Frequent Flyer Ticket Number Base Fare Taxes & Fees itinerary Total
MORR|S/KELLY US 4\/44254 0372177733906 251 .16 53.64 304.80

Payment information
USD3D4.80 has been billed to: xxxxxxxxxxxx3482 ~ Exp. 05/06

Ticket Restrictions
STNDBWCHG FEE/NO RFND/CXL BY FLT DT/AFT DPT CHG BY FLT DT

 

 

 

Changes in Travei Pians

Ticket changes may be made online

Pena|ties andlor an additional charge may apply

Tickets are non transferable and valid for one year from date of ticket issuance

ll To retain the value of a non-refundable ticketl flights must be cancelled onlbefore the ticketed

http://us.fl47.rnail.yahoo.com/ym/ShowLetter?box=Inbox&MsgId=2559_3448734_2478 1_1 6/14/05

Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 34 of 82

 

 

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Euest Signatm"e

 

fatal Due: 1.00

H Thank you for staying at Cnunl:ry Inn l Suites H

I'd SBEBBLVETSI:UL

Page|D 9743

=NUHJ SS=EI SB@E-£T-an

 

Lynn Tmesdale
Research Associate to the Monitorfor the Remedz'al Order
ll 362 Goode St. “
ButhiIIs, NY 12027
XXX-XX-XXXX

 

 

 

 

Expenses for Week of ]une 20-23, 2005

Purpose: Conducted four-class member (KN, DC, OM, RB) Community Status
Reviews for one provider agency (VOA).

 

 

Expenses
l:l US Airways-round trip
ll Albany, Memphis, Albany S 543.80 “
l:l Lodging: Hampton Inn, Memphis (6/20-6/23/05) $ 250.44
ij Hertz Rental Car (6/20-6/23/05) $ 96.03
|| n Per Diem (4 days @ 542/dan $ 168.00
TOTAL $ 1058.27

“ ;“//,W MTMMQ/

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Thank you for using usairways.com.

5§§?§

Boarding passes are required at airport security checkpoints
Print your boarding pass and check-in online at usairways.com starting 24 hours before your flight
Save time and earn bonus miles every time. More at www.usain~ays.com/flightcheckin

Confirmation Code: BIAVPP

    

8:05A Depart Albany, NY (ALB)
10:06A Arrive Charlotte, NC (CLT)

Jun 20 US Airways 1041 H 1‘lC

10:55A Depart Charlotte, NC (CLT) l
J 2 us A s 106 H 1

11 :30A Arrive Memphis-lnt'|, TN (N|EM) un 0 trway 5 OC
12:15P Depart Memphis-|nt'l, TN (N|ElV|) _
23 US A 34 H 10

2:50P Arrive Charlotte, NC (CLT) Jun lrways 5 l C

3:35P Depart Charlotte, NC (CLT) US Airways Express 2202

 

   
  

J 23 H

5:36P Arrive Albany, NY (ALB) m operated by PSA A|RLlNES 120

`: Ticket lnformation

4 TRUESDALE!LYNN US 9D662N4 0372177509147 476.28 67.52 543.80

030543.80 has been billed to: xxxxxxxxxxxx5346 - Exp. 01/07

STNDBY/CHG FEE,"NO RFND/CXL BY FLT DT/AFT DPT CHG BY FLT DT

 

 

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n your room. A safety deposit box is available for you`in the-lohby. l agree that my liability for-this bill is not waived and
agree _to be held personally liable in the event that the indicated person, company or association fails to pay for any part
or the full amount of these charges ' l have requested weekday.del`iveiy of iJSA TODAY.' if_refused. a credit of $.75 wi'[l be
applied to my a_ci:ount” in the event of an emergency i, or someone in my party require special evacuation due to a physical
disability Please indicate yes by checking here: m `

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06120105 689762 city Looeii~io TAx $3.50
06120;05 639762 couNTY i_oociNc TAx $3.50
oeizi/os assess coast RooM sro.oo
oeiziios assess s'rATE sAi_Es 'rAx s6.4s
06121/05 639986 ciTY i_oociNc TAx sa.so
oeiziios assess county LoociNc TAx $3.50
06/22/05 690th coast Rooivi $70.00
06i22i05 690219 sTATE sAi_Es TAx $6.48
cis/2205 690219 ci'rY i.ooeiNc TAx $3.50
06/22/05 690219 county i_oociNc 'rAx $3.50

Wii.t eis sE'i'rr.Eo 'ro vs '~*'~*~"***5346 $250.44

 

 

 

 

 

 

 

 

 

 

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signature of card member

total amount
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LYNN TRUESDALE
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Thank you lur renting lrom

Hertz

 

 

Shauna M. Williams
Research Assistant to the Monitor for the Remedial Order
51 East Avenue
Fairport, NY 14450
482-96-5'787

E)<PENSES FOR 6 / 20 - 23 / 05

PURPOSE:

]une 20 - Travel from Rochester to Memphis for CSR 2005; Pre-review of OM materials; Review
of OM

]une 21 - Review of KN; Review of RBr
]une 22 - Review of DC

]une 23 - Travel from Memphis to Rochester; Completion of PRRT hand tools for KN, RBr, and
OM

EXPENSES£
ci US Airljnes (Rochester-Memphis-Rochester 6 / 20 - 23 / 05) $ 399.30 1
0 Hampton Inn Suites (Memphis 6/ 20 - 23 / 05) $ 250.44
El Airport Parking (Rochester 6/ 20 - 23 / 05) $ 42.00
\:l Per Diem (4 days @ $42/ day) $ 168.00

TO'I`AL $ 859.74

7,)/{ Willich l/Ol/lmi:

 

1 Ticket price includes $100 change fee. Current ticket was purchased with “exchanged" ticket for a
6 / 21/ 05 Memphis trip. Original trip was cancelled due to Court Monitor's travel adjustments for a
Parties Meeting held on 6 / 17/ 05 .

 

 

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Rates subject to applicable sales, occupancy 'or other taxes. P|ease do not leave any money or items of value unattended
n your room. A safety deposit box is available for you_in the lobby. l agree that my'llability for this bill is not waived and
agree to be held personally iiable in the event that the indicated person. company or association fails to pay for any part
' or the`full amount-of these.charges. ' i have.requested weekday delivery=of USA TODA¥. if refused, a medit of $.?5 will be
. applied to my account.“ in the event of an emergencyr i, or someone in my party. require speciai evacuation due to a physical
disabil‘rty. Flease indicate yes by checking here: E

 
 
  
 
 
 

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06/20!05 689790 GUEST ROOM $70.00
06)‘20!05 689790 STATE SALES TAX $6.48
06/20/05 689790 CITY LODG|NG TAX $3.50
06/20/05 689790 COUNTY LODGlNG TAX 53.50
05)'21/05 690017 GUEST ROON| $70100
06121!05 690017 STATE SALES TAX $6.48
06/21/05 6900'17 C|TY LODG|NG TAX $3.50
06/21/05 690017 COUNT¥ LODG|NG TAX $3.50
06/22)'05 690250 GUEST ROOM $70.00
06/22)‘05 690250 STATE SALES TAX $6.48
06{22/05 690250 ClTY LODG|NG TAX $3.50
06/22/05 690250 COUNTY LODG|NG TAX $3.50

W|LL BE SETTLED TO VS *"'"”**"****"1084 $250.44

 

 

 

 

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Case 2:92-cv-02062-.]P|\/|-tmp Document 2042 Filed 08/24/05 Page 42 of 82 Page|D 9751

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Greater Ruchester international Fiirmrt
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it is FliSl and BDHE!ENIENT!

Contact us at 292-1900 cir visit us at
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gmcju,i/i),mrplgaios

Case 2:92-cv-02062-.]P|\/|-tmp Document 2042 Filed 08/24/05 Page 43 of 82 Page|D 9752

REVIEWER 1: SERVICE INVOICE

Paul I-largrove
9617 Balsa Drive
Shreveport, LA 71 l 15 g
Telephone: (318) 797-6457
XXX-XX-XXXX

Service Pcriod: ]une 3-7, 2005

Person-Centered and Home Review for SA, Easter Sea.ls 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)

- On-Site Review (06.03.05) (1.0 day)

- Instrurnent Completion and Entry in Database (1.0 day)

Person-Centered and Hoine Review for LF, Easter Seals 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)

'- On-Site Review (06.04.05) (1.0 day)

- instrument Completion and Entry in Database (1.0 day)

Person-Centered and l-Iome Review for DE, Easter Seals 2.5 days

- ISP and Other Document Pre-Site Visit Review (.5 day)

- On~Site Review (06.05.05) (1.0 day)

- lnstrurnent Completion and Entry in Database (1.0 day)

Person-Centered and Home Review for MH, St. John’S 2.5 days
- ISP and Other Document Pre»Site Visit Review (.5 day)

- On-Site Review (06.06.05) (1.0 day)

- lnstrument Completion and Entry in Database (1.0 day)

Draft Na.rrative Report for Easter Seals 2.25 days

ToTAL (12.25 days @ s 700.00 day) ss,s'is.oo

DW._,

 

 

Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 44 of 82 Page|D 9753
Darlene Langkau RN
9 Lawmar Lane, Burnt Hills, New Yorl< 12027

399-3180
XXX-XX-XXXX

6/11/05 me./20/05

PURPOSE: Completed Medical Record Summary Review with recommendations
pertinent to Community Transition for:

[] 'I'I` $1,250.00
1] BP $1,250.00

TOTAL $2500.00

 

1 .
, ’ /
SIGNATURE DATE:

 

 

 

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Darlene Langkau RN
9 I_.awmar Lane, Burnt Hills, NeW York 12027
399-3180
054-464241

6/26/05

PURPOBE: Completed Medical Record Summary Review with recommendations
pertinent to Community Transition for:

El TC $1,250.00

TOTAL $1250.00

-/p(<

(\ ‘ /
SIGNATURE A(§ §Q_$Ql@£=§ §le ;£@M DATF.: iv § £/ jQQ

 

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BONITA A. MAXON
110 E. SHORE DR
PETERSBURG, NY 12138/518-658-2873
086365495
INVOICE FOR SERVICES ]UNE 14-18, 2005

Person-Centered and Home Review for LS, Guardian 2.5 days

- ]BP and Other Document Pre-Site Visit Review (.5 clay)
- On-Site Review [Iune 14, 2005] (1.0 day)
- lnstrument Completion and Entry in Database (1.0 day)

Person-Centered and Home Review for SH, Guardian 2.5 days

- ISP and Other Document Pre-Site Visit Review (.5 day)

- On-Site Review [Iune 15, 2005] (1.0 day)

~ lnstrument Compleu'on and Entry in Database (1.0 day)

Person-Centered and Home Review for GM, VOA 2.5 days
ISP and Other Document Pre-Site Visit Review (.Sday)

On-Site Review {Iune 16, 2005] (1.0 day)
- Instrument Completion and Entry in Database (1.0 day)

ToTAL (7.5 days @ $sso.oo day) 54125.00

Signa§z`r£§?\%gru @ MW (KN l(g:, QOOS

 

Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 47 of 82 Page|D 9756

 

Reviewer I: Service Invoice

Cheryl A. Ouimet, MSW
8322 Wycornbe Lane
Raleigh, NC 27615
SS#: XXX-XX-XXXX
SERVICE PERIOD
[April 24, 2005 - ]une 13, 2005]

cl Person-Centered and Home Review for MM, BIOS 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)
- On-Site Review [5/7/05] (1.0 day)
- Instru;ment Completion (1.0 day)

\:\ Person-Centered and Home Review for KL, BIOS 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)
- On-Site Review [5/8/05] (1.0 day)
- lnstrument Completion (1.0 day)

El Person-Centered and Home Review for PA, BIOS 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)
- On-Site Review [5/9/05] (1.0 day)
- Instrument Completion (1.0 day)

cl Person-Centered and Horne Review for SG, BIOS 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)
- On-Site Review [5/10/05] (1.0 day)
- Instrument Completion (1.0 day)

l Drat't narrative report and edits for BIOS 3.0 days

TOTAL (13 days @ $700.00 day) = $9,100.

  

Signature €<'Mg/€/ 74 M- Date éf/~§'{¢a§

 

 

 

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Reviewer I: Service Invoice

Cheryl A. Ouimet, MSW
8322 Wycombe Lane
Raleigh, NC 27615
SS#: 078~52-4440
SERVICE PERIOD
[June 2, 2005 - June 20, 2005]

El Person-Centered and Home Review for DC, St. John’s _ 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)
- On-Site Review {6/8/05] (1.0 day)
- Instrument Completion (1.0 day)

n Person-Centered and Home Review for DO, St. John’s 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)
- On-Site Review [6/9/05] (1.0 day)
- Instrument Completion (1.0 day)

cl Person-Centered and Horne Review for RD, St. John’s 2.5 days
- ISP and Other Document Pre-Site Visit Review (.5 day)
- On-Site Review [6/10/05] (1.0 day)

- InStrument Completion (1.0 day) 71 /C/€/

TOTAL (7.5 days @ $700.00 day) = $5,250.00

 

Signa““e W%W Date 61¢77 "5'

 

 

Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 49 of 82 Page|D 9758

EXPENSE INVOICE

Paul Hargrove
9617 Balsa Drive
Shreveport, LA 71115
Telephone: (318) 797-6457
439*92-6692

Expenses for ]une 3-7, 2005

Purpose: Person-Centered and I-Iome Review for four class members

Expenses:

° Northwest Airlines (Shreveport-Memphis-Shreveport) (6/3/05) $351.90

- Holiday nm _ Jackson (6/3/05 - 6/5/05) @ 565/day $195.00

plus state sales & county lodging tax @ 14.75% S 28.77

Harnpton Inn & Suites - Bartlett (6/6/05) @ 380/day $ 80.00

plus city, state & lodging tax @ 19.25% $ 15.40

¢ Per Diem (5 days @ $42/day) $210.00

° Hertz Rental Cax (6/3/05 - 6/7/05) $325.72
TOTAL $1206.79

 

Flcight Purchase Conf`lrmation _ Page l of 2
ase 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 50 of 82 Page|D 9759

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Summary Purchase Confirmation Li.--._p.'.i'. 5 Des.titxar§a¢x dower Maps z Resewadnesimlp s relate
§Ji.ine 3, 2005 Pau| Hargrove
§Depart: Shreveport(SHV) WorldParks Member
5Ari-ive: Memphis (|V|EM) _ _
< Thank you! Your reservation is coniirmed.

1 June 7' 2005 Print a copy of this page for your records. For your convenienoe. a purchase confirmation will

_Depart: Memphis(NlEN|) ; . .
z An_ive: Shrevepon (SHV) automatically be emailed to you.

Pre-purchase seating selections were successful To view or change your seating selections, Q|ir¢
§ 1 Aduii: $312.56 ; bare

` TaXeS'Fees¢ $39-34 Memphis starns

`Totai cost: $351.90
~»» Northwest Air!ines Confimiation Number: 7WVRN5
Itinerary number: 106783071

 

B_°°k.-a_@§~rBi“l§' : `Totai' Trip cost: $351.90 n n n n
for this Tr|p ' ¢._. .. . … …,,,"M W.,,AM,….MN,,,W,
M s Trave|er(s): Frequent Flyer Details:

Paui Hargrove Northwest WorldPerks 100702635176

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Friday, June 3, 2005 depart 6:35arn Shreveport Regioria
; Northwest Airlines Flight #3555 morning Airport (SHV)
Shreveport
5 arrive 7:433m Memphis lnternatioi
operated by morning Airport (MEM)

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Mea|: none

On Time: NfA

Cabin: Economy
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Tota| Distance: 284 r

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Tuesday, June 7, 2005 depart 7:15pm Memphis lnternatioi
Northwest Air|ines Flight #3552 evening Airport (MEM)
Memphis
5 arrive 8:32pm Shreveport Regiona
z operated by evening Airport (SHV)

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n Seat(s): Not Assignei

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Paul Hargrove Membership No. PC 193852021

313 Delaware

Delmar’ NY 12054 A/R Number

US Group Code

Foliol'invoice No. 50352

Room No_ 429 Page No. 1 off

Arrival 06-03-05 Cash'ier No. 14

Depaiture 05_06-05 User lD JWARMATH

www.holiday-inn.comljacksontn

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106-03-05 isiaie sales Tax | 6-34 l

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105-03'05 lCounty Lodging Tax l 325 5

_06'04'05 i*Accommodation 65-00 l
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`05'95'05 lState Sa|es Tax l 5-34 l
|OG'O5-05 iCounty Lodging Tax n l 325 l
Thank_you for staying at Holiday |nn - Jackson, TN. Qua|ifying points for this T°ta| 223'77 0'00
Slay Wl|l automatically be credited to your account To make additional reserve

Balance 223.77

Guest Signature:

 

;ha\'@ received the goods and l or services in the amount shown heron. | agree that my liability for this bill is not waived and agree to be held personally liable in the
urgent tl"lat_ttie indicated person, company, or association falls to pay for any part or the fu|| amount of these charges. lf a credit card charge. | further agree to perform
ob"QationS set forth in the cardholder's agreement with the issuer.

Holiday inn
541 Carriage Hoi.ise Drive
Jackson, TN 38305
Telephone: (731) 668-6000 Fax: (731) 668-9516

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' iri your room. A safety deposit box is available tor you in the |obby. iagree‘ti'iat my liability fo_r'th|s bill is not waived and
gree to be held personally liable in the event that the indicated person. company o_r association fails to pay _for any-part
r the full amount of these charges ' | have requested-weekday delivety.o‘f USA TODAY. if refusedl a credit of $.7-5 will be
pp|ied to my amount._" in the event of an emergency l, or someone in my party, require spedal evacuation due to a' physical
isabi|ity. Please indicate yes lay-checking here: \:| - ` l

si_gnature: _`

 
   
  
 
   
 

06/06/05 686580 GUEST ROOM $85.00
06{06.|'05 686580 STATE TAX ‘$7.86
06/06/05 686580 C|TY TAX $4.25
06/061'05 686580 LODGlNG TAX $4.25

Wll.L BE SETTLED TO VS *“*""***'*"3741 $101.36

 

 

 

 

 

 

 

 

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taxes

 

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signature of card member

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Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 53 of 82 Page|D 9762

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Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 54 of 82 Page|D 9763

Bonita Maxon
110 East Shore Dr.
Petersburg, NY 12138
XXX-XX-XXXX
Expenses for Woelc of June 14-17, 2005
Purpose:
¢Community Status Review of three class members.

Expenses:

¢US Airways: Albany, NY-Memphis, TN- Albany, NY (6!14-6/17/05) $ 563.80

¢Lodging: Hilton-Memphis, TN (6/14/-6/17/05) $ 278.28
¢Parking: Albany Park and Fly (6/14-6/17/05) $ 34.50
oPer Diem @ ($42/day) X 4 days $ 168.00

TOTAL $ 1044.58

 

Signatui"e: ( §§ §Z®-"-{_n'_~c;,¢mh 2 Date. L boS'

CaS/e£:92-cv-02062-.]PI\/|-tmp Document 204&/("€(1 08/%1/?,57 P ge_55 of 82 Page|D 9764

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Thank you for using usairways.com. w fl \'YY\O`.§LB~\)

o Boarding passes are required at airport security checkpoints
» Print your boarding pass and check-in online at usainiveys.com starting 24 hours before your flight
Save time and earn bonus miles every time. More at www.usairweys.comlfiightcheckin

 
  

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10:55A Depart Char|otte, NC (CLT) .

111::».¢)»\ Arrive Memphis-mri TN (MEM) Jun 14 US A'"”ays 1°65 "' 103
12:15P Depart Memphis-|nt'|, TN (MEM) .

.,2:50P Arrive charioue, Nc ici_T) J“" 17 US A'"'"ays 584 H 105
;3:35P Depart Char|otte, NC (CLT) Jun 17 US Airways Express 2202 H 126
j5:36P Arrive Albany, NY (ALB) operated by PSA AiRLlNES

 

 

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939 Ridgs Lake Boulcva.rd ' Memphi&, TN 33120
' Phone (901) 634-6664 ' Fax (901) 762-7496
H].].ton Reservations
| Nama & Address l Memphis m.hilwn.aam ar 1 soo HILToNs
MAXON, BONETA Room 408}D2
110 E SHORE DR Al'l"lVal Date 06)'14/05 5!17PM
Departure Date 06/17/05

PETERSBURG, NY 121381813 Adu|t/Ch|'|d 1/0
US Room Rate 80.00

RATE PLAN L-K4

HH# 2206562'17 S|LVER
AL: US #68F1F'68

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BONUS AL: CAR:
CONF|RMAT|ON NUMBER : 3216325126
06/17/05 PAGE 1
DATE DESCRJ,F'T|ON |D ' REF NO CHARGEE CRED|TS BALANCE
06/14)'05 EXT-#408 L 881-4265 0062 L|NTR 408207 $0.75
20:52
06/14/05 GUEST ROOM AUD|T 408589 580.00
06.'14/05 STATE TAX AUD|T 408589 $7.40
06/14)'05 COUNTY TAX AUD|T 408589 $4.00
06.'14/05 ClTY TAX AUD|T 408589 $1.36
06115)'05 EXT-#408 L 881-4265 0084 L|NTR 409363 $0.75
18:19
06/15/05 EXT-#408 L. 881-4265 0032 L|NTR 409464 $0.75
21 :39
06/15/05 GUEST ROON'| AL_.|D]T 4098'15 $80.00
06115/05 STATE TAX AUDIT 409815 $7.40
06/15!05 COUNTY TAX AUD|T 409815 $4.00
06/15/05 ClTY TAX AUD|T 409815 $1.36
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06/16/05 EXT~#408 L 881 -4265 0078 L|NTR 410450 $0.75
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06116/05 GUEST ROOM AUD|T 410625 $80.00
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Name & Address l

 

MAXON, BON|TA
110 E SHORE DR

PETERSBURG, NY 121381813

US

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Hilton

Memphis
Room 408/02
Arrival Date 06/14!05 5:17PM
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Adulthhi|d 1l0
Room Rate 80.00
RATE PLAN L-K4

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- §§ §de §c Bou§ev§ - %m'nphis, §§ 38120

Phone (901) 684-6664 ‘ Fax (901) 762-7496

Reservations

www.hilton.com or l 800 HILTONS

 

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BONUS AL: CAR:
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06117/05 PAGE 2
DATE DE§CRlPT|ON |D REF NO CHARGES CRED|TS BALANCE
BALANCE $278.28
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To check your earnings for this stay cr any other stay at more than 2 700
hotels wondwide visit .hi`li‘onhhor'ors.com
Thank you for choosin Hli'tonl Plaasa visit us at hilton.com to view cur best
available Net Direct re s, plan a spe :r'a! vacation getaway or select a
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Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 58 of 82 Page|D 9767
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Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 59 of 82 Page|D 9768

 

Cberyl A. Ouimet, MSW
8322 Wycombe Lane
Raleigh, NC 27615
SS#: XXX-XX-XXXX

Expenses for June 8 - June 10, 2005

Purpose: Community Status Review 2005 for three class members

Expenses:

Ei US Airways (Raleigh-Nashviiie-Raleigh) 3257.30
Rental Car (Hertz 3 days) $220.72
Gas $ 15.00

o Lodging

Country Inn & Suites, Jackson (2 days @ $63.11) $126.22

i:i Airport Parking fee (3 days @ $6/day) $ 18.00

i:i Per Diem (3 days @ $42/day) $126.00

TOTAL $763.24

Signature UW~JZ]£_A M Date 6/13105

 

 

 

usairways.com -> continuation

imap://cheryl.ouimet@cms .ncmaii.net: 143/fetch%3 EUID%3E/IN. ..

Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 60 of 82 Page|D 9769

Subject: US Airways Ticket Contirmation
From: tickets@usairways.com

Date: Fri, 20 May 2005 10:14:28 -0700 (PDT)
To: CHERYL.OUIMET@NCMAIL.NET

U~S i\ l l"{\N AY S

 

usairways.com -> connrmation

Thank you for using usainivays.com.

 

 

§ U'S AIR.WAYS l fw

 

 

 

 

0 Boarding passes are required at airport security checkpoints

0 Print your boarding pass and check-in online at usainivays.com starting 24 hours before your liight. Save time and

earn bonus miles every time. More at www.usain~avs.cornltii_q_htcheckin

 

Contirmation Code: KJXGXW

itinerary Date Flight
7:20A Depart Raieigthurham-|nt'l, NC
(RDU) Jun 8 US Airways 1053

8:10A Arrive Charlotte, NC (CLT)

19:45A Depart chanoue, NC (ci_T)

10:09A Arrive Nashviiie, TN (BNA) "“" 8 US A'“”ays 921
s:ooP Depart Nashviiie, TN (BNA) .

e:11P Arrive Charioite, NC (cLT) Jun 10 us A"Ways 2°7
9:00P Depart Char|otte, NC (CLT) Jun 10 US Aimays 1433

9:50P Arrive Ra|eigthurham-|nt'|, NC (RDU)

Ticket information
Traveler Frequent Flyer Ticket Number Base Fare
OU|METlCHERYL US PO1Y418 0372177747566 205.58

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080257.30 has been billed to: xxxxxxxxxxxx1428 - Exp. 01l06

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Taxss & Fees itinerary Total

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v Ticket changes may be made online
¢ Penatties and/or an additional charge may apply

¢ Tickets are non transferable and valid for one year from date of ticket issuance

C/Mi

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0 To retain the value of a non-refundable ticket, flights must be cancelled onlbefore the ticketed travel date

0 For additional information please view US Airwavs Terms of Transportation

Documentation For lntemational Trave|

5/20/2005 3:46 PM

Case 2:92-cv-02062-.]P|\/|-tmp Document 2042 Filed 08/24/05 Page 61 of 82

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NASHVILLE INT'L AIP

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CHER¥L OUIHET

COHPLETED B¥: 8642
RENTED: NASHVILLE INT'L AIP
RENTAL: 06/08/05 10223
RETURN: 06110/05 15259

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TAX 12.250% civ TAxABLe rrLoi=s 164.58 g s 20.16

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$ 220172

TOTAL EST|MATED CHARGE

THiS lS DNLY AN EST|MATE. lt assumes that {1) you will rent and return
the identified vehicle at the times end places indicated, {2) if a mileage
charge applies you viiiii drive no more than the number of miles indicated
and {3) you will not incur any charges that either are listed above

opposite “****" or cannot be calculated until return |f any of these
assumptions is incorrect additional charges or charges at higher rates
may app|y.

PLAN OUT: 0502A RATE CLASS: C

CC AUTi-i WOULD BE $ 271 .00

PR|NTED: 06108l05 10:25 PREFARED BY: 1719lTNNA811

Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 62 of 82 Page|D 9771

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Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 63 of 82 Page|D 9772

 

 

 

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Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 64 of 82 Page|D 9773

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HOHHISVILLE, NC 2756@
919/782-523@
UHU.PHEFLIBHTPRHKINB.EOH

LRNE: 01 CLERK: 1891

DH¥E= 06/1%/35 TZHE! 11=83 PH
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SERVICE

Verizon Wireless
Verizon Wireless

AT&'T

Nancy K. Ray
Vickey Coleman

Family/ Consumer
Toll Free Phone #

TELEFHONE

BILLING DATE
June 12, 2005

]une 19, 2005

]une 16, 2005

Total

AMOUNT
100.06

115.’76

20.25

$236.07

 

 

 

 

 

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Case 2 92- -c\/- 02062- .]P|\/|- -tmp Document 2042 Filed 08/24/05 Page 66 of 82 Page|D 9775

Merimlwireiess

 

Bill date June 12, 2005 Page 3 of 22
Acoeunl number 105409741
lnvolce number 312461 5553

Summary of current charges

 

VZW
surcharges Taxes.
Account and other governmental
Page charges Month|y Usage Equiprnent charges surcharges Total
Charges for number & credits charges charges charges and credits and lees charges
` ur account 1 $.00 $ 00 $. 00 $. 00 $.00 $.00 $.00

  

  
 
 
 

 
 
  

513-265-3675 ay 9
518- 265~539 Nancy ay
518- 265»9 5 Nancy Ray 2599 .22
- 35 Nancy _, ~° *~ .00 ,02

518- 441- 5196 Nancy K Ray 79. 99 5. 00 4. 09 1098
Tota| current charges $.00 $209. 97 $5. 34 $. 00 $10. 61 $30.77

1 9.9 5.82
3 .49

6.99

   
    

Fami|y ShareP|an Summary of Usage

 

 

*Shared
Prlmeryl ShareP|an Minutes ’Other
Wire|ess # l User Name Secondary Allcwance included Minutes Total
518-265-9565 Nancy Fiay P 500 192 430 622
518-424-9335 Nancy Flay S 175 426 601
Total usage 367 856 1223

’ The Shareo' Minutes lncluded column displays only those minutes covered by your monthly Family SharePlan(R) allowance The Other Minutes
column represents all other current home ainime minutes such as Promotioriel lN- -Galli‘ng and minutes billed at your calling plan' s per minute rate.
For detailed information see the Usage Summery section for each Mobi'le Number

Fami|y ShareP|an Summary of Usage

 

 

‘Shared
Priri*iaryl Share P|an Minutes ‘Other
Wireiess #l User Name Seconc|ary A|lowance |nc|uded Minutes Totat
518-265-3675 Nancy Ray P 400 20 58 78
518-265-5392 Nancy Ray S 153 425 578
Totel usage 173 483 656

' The Shared Minutes lncluded column displays only those minutes covered by your monthly Family SharePlan{R) allowance ‘l'he Other Minutes
column represents all other current horne eirtlme minutes such as Promotionel lN-Calling and minutes billed at your calling plan' s per minute rate.
For detailed information see the Usage Summary section for each Moblle Number.

ChargeS for 518-265-3675

 

 

Nancy Ray
Monthlv Charges ¥our Service Proflle
Currerit calling plan Currerit
06/13l05 - 07/12/05 $39.99 calling ptan: America's Choice Farni|y Share Prlmary 400 Anytlme $39.99 0504
Month|y charge $39.99
Month|y allowance minutesl 400 general
Tota| monthly charges $39_99 Additlcna| per minute charge $.45 peak, $.45 off-peak
Promofional details
Current: > Beginning on 1211 4/04: Natl lN network shared;unlimited night &

weekend minutes;

Control #: 30000057 00000882

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Case :92-cV-O2062-.]Pi\/|-tmp Document 2042 Filed 08/24/05 Page 67 0182 PageiD 9776
vermwireiess

Blll date June 10, 2006 Page 3 ct 10
Account number 0100840|?-00001
invoice number 1@9“5000

Charges for 731 -234-21 25

Vickey Coleman

Slgn Up Now for Wireieee A|IBER Alerte

Verizcn Wirelees customers with handsets capable ot receiving text messages can now choose to receive Wreiece AMBER Alerte(tm} which are
tree TXT messages with information about abducted chlldren. Dictributed in cooperation will the Netlond Center tor Mleehg &_`§)(!glolted Chlld'en
(NCMEC) and local law enforcement egencies, wstomers can opt-in by going to www.verlzonwkeiecs.com and chooclrlg'eend Meeeegee'
from the Get it Now(r) drop-down menu, or by logging drectiy into www.vtext.oom `i'XT tileth eite. Alter ln, ct.\etorners and enpioyeee
go to the Alerts page and choose the 'News and ech" category. then dick on the Wkeless AMB Fl Alert bmner. will then be prompted to
enter a zip code for the state or geographical area for which they want to receive ereless AMBER Aierts.

Fllngbeck Tonee

Ftlngback Tones are a lun way to entertain the person ceiling you with music until you sooner the phone Ohooee-lmm a selection ol‘ over 2,000
Ftingback Tones and assign songs by Ca|ier |D, Group |D and Time of Day. Flhgbeck Tonee euoecrlptlon le only 99 cents per month + a one-time
charge of $1.99 per Rlngback Tone (good lcr 12 months per tone ). Callers will hear a brief Caller Greetlng explaining that they will hee.r muelc
prior to the call being answered The Calier Greeting is set to "aiways on' at no cost Go to www.verizonwlreleec.comlringbacktones to sign up
today or to modify the Gailer Greeting or other eettings.

 

 

 

 

Monthiy Charges Your Service Frotlie
Current calling plan Current t
05!20!05 - 06!19!05 $99.99 calling plan: America‘s Choloe 2000 Anyllme Unlm N&W & Un| lN Cell WB.BQ 1y 504 ‘
Mcnthly charge 009.90 1
Month|y allowance minutes 2000 general §
Total monthly charges $99.99 Add'"°“°' P°' '"‘“‘"‘ °““'°‘ $~25 P°°k~ *~25 °"'P‘°" ;
Promotional details: '
Cun'ent: >Beginning on 12i'27l04: Unlimiied night end weekend home alrtlme
minutes per month
Enhanced services:

S-Way Ca|li , Buey Trancter, Caii Forwardlng, No Anewer
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Current
feature(s): Netl lN Gelllng-unlim
Monthiy allowance unlimited general
USBQQ St.ll'l'lm&t'y 731-234-2125
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LDNG DI RVICE
BILLED NUMBER: 518 478-0982
TDLL"FREE NUHBER: 866 478-0982
STATE-TD-STATE CALLS
1 5/17/05 10:08:10A TUE HEMPHIS TN 901 384-3668 3:00 0.21
2 5/17/|]5 12:41:32P TUE BOLIVAR TN 731 658-7119 1:00 0.07
3 5/17/05 3:47:36F TUE BULIVAR TN 731 658-7119 3200 0.21
4 5/18/05 12:38:46F lilED BULIVAR TN 731 658"7119 1:00 0.07
5 5/18/05 2:45:29F WED MEMFHIS TN 901 859-5384 1:00 0.07
6 5/19/05 1:19:43F THU BDLIVAR TN 731 658"7119 17:00` 1.17
7 5/19/1]5 1:58:24P THU BULIVAR TN 731 658-7119 1:00 0.07
B 5/20/05 10:04:35A FRI MEMPHIS TN 901 859-5384 1:00 0.07
9 5/20/|]5 2:07:14P FRI MEMFHIS TN 901 281-9128 3:00 0.21
10 5/23/05 8:54=01A HDN MEMPHIS TN 901 360-9085 2:00 0.14
11 5/23/05 2:32:05P MON HUHBDLDT TN 731 784-0483 2:00 0.14
12 5/24/05 B:59:24A TUE BDLIVAR TN 731 658-7119 4:00 0.28
13 5/24/|]5 1:46:41P TUE EMERSDN IA 712 824-9998 1:00 0.07
14 5/24/05 3:22:52P TUE BULIVAR TN 731 658-7119 2:00 0.14
15 5/24/05 3:48:04P TUE BULIVAR TN 731 658-7119 6:00 0.41
16 5/25/05 3:52:18P \ilED MEMPHIS TN 901 859-5384 10:00 0.69
17 5/26/05 9:02:50A THU BDLIVAR TN 731 650-7119 1:00 0.07
18 5/26/05 10:17:53A THU BDLIVAR TN 731 650-7119 9:00 0.62
19 5/26/05 10:34:40A THU BDLIVAR TN 731 650-7119 12:00 0.83
20 5/26/05 2:29:23P THU BDLIVAR TN 731 658-7119 5:00 0.35
21 5/27/|]5 2:47:30F FRI CAMDEN TN 731 584-7955 29:00 2.00
22 5/31/|]5 10:40:35A TUE BULIVAR TN 731 658-7119 6:00 0.41
23 5/31/05 11:43:07A TUE MEMPHIS TN 901 775-3484 11:00 0.76
24 5/31/05 1:05:14F TUE MEMPHIS TN 901 859-5384 3:00 0.21
25 5/31/05 5:10:39P TUE MEMPHIS TN 901 757-8523 1:00 0.07
26 6/01/05 10:34:42A WED MEMPHIS TN 901 757-8523 18:00 1.24
27 6/01/|]5 10 :53:43A |llED BRUWNSVL TN 731 432-'9221 18:00 1.24
28 6/03/05 10:16:12A FRI MEMPHIS TN 901 360-9085 1:00 0.07
29 6/03/05 11:25:27A FRI MEMPHIS TN 901 859~'5304 2:00 0.14
30 6/07/|}5 9:01:32A TUE BULIVAR TN 731 658-7119 1:00 0.07
31 6/07/05 9:10:27A TUE HEMPHIS TN 901 360-9085 8:00 0.55
32 6/07/05 9:40:44A TUE BULIVAR TN 731 658-7119 1:00 0.07
33 6/07/|]5 1:20:18P TUE BULIVAR TN 731 658-7119 1:00 0.07
34 6/07/|]5 3:35:54P TUE BULIVAR Thl 731 658-7119 1:00 0.07
35 6/0`7/|]5 5:21:03P TUE HEMPHIS TN 901 324-1957 4:00 0.28
36 6/09/05 9:29:36A THU BBLIVAR TN 731 658-7119 1:00 0.07
37 6/09/1}5 10:03:50A THU TRDY TN 731 536-5280 1:00 0.07
38 6/09/|]5 12:18:40P THU MEMPHIS TN 901 705-5442 4:00 0.28
39 6/09/[|5 2:21:04F THU MEMPHIS TN 901 946-5901 8:00 0.55
40 6/09/05 4:01:4BP THU SOMERVILLE TN 901 465-8129 21:00 1.45
41 6/09/|]5 4:43:34P THU MEMPHIS TN 901 377-4871 1:00 0.07
42 6/10/|]5 10:40:50A FRI MEMPHIS TN 901 682-6569 8:00 0.55
43 6/10/05 1:25:53P FRI MEHFHIS TN 901 859-5304 8200 0.55
44 6/13/|]5 10:29:50A MDN JACI(SDN TN 731 661-0469 4:00 0.28
45 6/13/05 10:41:53A MON JACKSDN TN 731 661-0931 6:00 0.41
46 6/13/05 12:34:10? MON BDLIVAR TN 731 658-7119 27:00 1.06
47 6/15/05 3:45:41P WED JACKSUN TN 731 661"0469 1:00 0.07
48 6/16/05 9:06:21A THU MEMPHIS TN 901 775-3484 2:00 0.14
49 6/16/||5 10:04:13A THU MEMPHIS TN 901 785~5442 2:00 0.14
50 6/16/|]5 4:17:15P THU CULLIERVL TN 901 853-7800 9:00 0.62

 

 

 

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POSTAGE

FedEx 6/ 03 / 05 Invoice 3-859-96515
FedEx 6 / 10 / 05 Invoice 3-871-94485
FedEx 6/ 17/ 05 Invoice 3-883-99’789
US Post Office 6/ 01 / 05

US Post Office 6 / 14 / 05

133.14
13.13
62.39
62.45 ll

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Total $6'76.11

 

 

 

 

 

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invoice Number: 3-859-96515

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Paqe: 3 of 4
FedEx Express Shipment Detaii By Payor Type (Drigina|)
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' Fue| Surcharge - FedEx has applied a luel surcharge oi 1 1 .50%10 this shipmentl
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iNET Sender Hecigiam
Traclring ll] 791056828092 Colleen Dowd Paul Hargro\rc
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Account Number: 2294-7884-2

_ Pa|e: ` 3 of3

FodEx Express Shipment Detail By Pavor Type iUriginail

 

 

Droppod uff:Jun BZ, 2005 Pnyor:Sl\ippel' Rofarnllca: NO REFERENCE lNFOBMAT|BN

° Fue| Surcharge - FedEx has applied a fuei surcharge of 11.50%to this shipment

¢ The delivery commitment iorFedEx Zdav to homes or private residences (including home oliices] is 7 P.N|, the second business dayforAi . A2. AA, A3, AM. PM. 01 and RM service areas.
° Distance Based Pricing. Zone 2

‘ FedEx has audited this shipment _for correct packages weight and service. Any changes made are reflected in the invoice amount

* Helease signature orr lile.

 

 

|NET Sender Hecigient

Trackingll] 79184121146[] Co||een Dowd Bonnie Maxon

Service Type FedEX may NKR &ASSUClATES. !NC 110 fast Sht'ire Uri\re

Pat:itsge Type FedEX EUX 313 UELAWAF|E AVENUE PETEHSBUHG NY 12133 US

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W°_'ght 50 'hs' 23 kcs Trenspnnation Charge 910

D°|“"md J“" 03' 2005 1313 Autornation Bonus iJiscoum -031

SE'° A'“ PM Deliverv Area Surcharge 2.0[]

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Page: 3 of 3
Fed Ex Express Shipment Detail By Payor Type (Urigina|)
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Case 2:92-cv-02062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 75 01 82 Page|D 9784

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HELP "FUND THE FIGHT" AGAINST
BREAST CANCER. FOR EVERY SHEET
DF BREAST CANCER STAMPS YOU BY,
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Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 76 01 82 Page|D 9785

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*#*** WELCUME 10 *****

DELMAR MPO
DELMAR NY 12054-1905
06/11/05 09.15AM

Store USPS Tranz 18
Wkstn sy35003 Cash1er X4MGYO
Bash1er' s Name MATTHEW

Stock Un11 Id WINMATTHEH

PO Phone Number 518-439-1933

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AUTH 013660 CREDIT TRANS # 083

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REFUNDS FOR GUARANTEED SERVICES ONLY.

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PRINTING

Camelot Legal Copy Invoice JUN50957
Community Criteria

In-house printing of 7230 copies @ .04 per copy

Total

 

59.40

289.20

$348.60

 

 

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Document 2042 Filed 08/24/05 Page 78 of 82 Page|D 9287

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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318 Delaware Ave. p-478~0982
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Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 i ed 08/24/05 Page 79 of 82 Page|D 9788 `

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Please FAX to:753-4496

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 2042 in
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lack W. Derryberry

WARD DERRYBERRY & THOMPSON
404 J ames Robertson Parkway

Ste. 1720

Nashville, TN 37219

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
Memphis7 TN 38103

Edward G. Connette
LESESNE & CONNETTE
1001 Elizabeth Avenue
Ste. 1-D

Charlotte, NC 28204

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

Memphis7 TN 38103

Leo Maurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Steven W. Likens

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion HillS Drive

Ste. 3000

Memphis7 TN 38125

Case 2:92-cv-O2062-.]PI\/|-tmp Document 2042 Filed 08/24/05 Page 81 of 82 Page|D 9790

Frank J. Laski

PUBLIC INTEREST LAW CENTER OF PH[LADELPHIA
125 S. 9th Street

Ste. 700

Philadelphia, PA 19107

Jonathan P. Lakey
PIETRANGELO COOK
64 1 0 Poplar

Ste. 190

Memphis7 TN 38119

Nancy K. Ray

NKR & Associates, Inc
318 Delaware Ave.7 Ste. 2
Delmar, NY 12054

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Dianne Stamey Dycus

ATTORNEY GENERAL AND REPORTER
426 Fifth Avenue North

2nd Floor

Nashville, TN 37243

Darcey Kathleen Donehey
950 Pennsylvania Ave. N.W.
Washington, DC 20530

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Judith A. Gran

PUBLIC INTEREST LAW CENTER OF PH[LADELPHIA
125 S. 9th Street

Ste. 700

Philadelphia, PA 19107

Case 2:92-cv-02062-.]P|\/|-tmp Document 2042 Filed 08/24/05 Page 82 of 82 Page|D 9791

R. JonaS GeiSSler

U.S. DEPARTl\/IENT OF .TUSTICE
950 Pennsylvania Ave.7 NW

Special litigation Section
Washington, DC 20530

Thomas R. PreWitt

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

Memphis7 TN 38103--246

William F. Sherman

LAW OFFICES OF WlLLlAM F. SHERMAN
504 Pyramid Place

Little Rock7 AR 72201

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

Memphis7 TN 38103

Todd Schneider
U.S. DEPARTl\/IENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.

Special litigation Section
Washington, DC 20530

Nicole Porter

U.S. DEPARTl\/IENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.
Special litigation Section
Washington, DC 20530

Kimbrough Brown Mullins
WlLLlAMS PROCHASKA P.C.
50 Front St

Ste 1075

Memphis7 TN 38103

Honorable Bernice Donald
US DlSTRlCT COURT

